                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF OREGON

   In re
    Ø±±¼-¬±½µ Û²¬»®°®·-»-ô ÔÔÝ                          Case No.         îîóíïíðìó°½³ïî



                                                        CHAPTER 12 PLAN DATED                ïïñðéñîî
                                                          Motion to Value Collateral
                                                          Secured Claim Amount Limited with Creditor Consent
   Debtor(s)

   1. The debtor shall pay to the trustee (a) a periodic payment of $ ìôèððô ¾»¹·²²·²¹ ±² Ûºº»½¬·ª» Ü¿¬»ô every
                ³±²¬¸           (insert either month, quarter, six months or year); (b) all proceeds from
      avoided transfers, including proceeds from transfers avoided by the trustee; (c) upon receipt by the
      debtor, all net tax refunds attributable to prepetition tax years and net tax refunds attributable to
      postpetition tax years (i.e., tax refunds not included on Schedule I, less tax paid by debtor for a
      deficiency shown on any tax return for that same postpetition tax year or tax paid by setoff by a tax
      agency for a postpetition tax year) received by the debtor during:             The life of the plan, or
             36 months from the date the first plan payment is due (check applicable provision; if neither is
      checked, “for the life of the plan” applies); (d) a lump sum payment of
      $                         on                          (date); and (e)
                                                                                                                .

   2. From the payments so received, the trustee shall make disbursements as follows:
      (a) First, to the trustee's commission and expenses.
      (b) Second, with respect to secured creditors, the terms of the debtor's prepetition agreement with
          each secured creditor shall continue to apply, except as otherwise provided for in this plan or
          the confirmation order. Secured creditors shall retain their liens until the payment of the
          underlying debt, determined under nonbankruptcy law, or discharge under § 1228, as
          appropriate. Any allowed secured claims will be paid as shown below. Should the trustee not
          have sufficient funds in trust to pay fully the disbursements listed below, disbursements of funds
          available shall be made pro rata. If a creditor is not fully secured, the unsecured portion of the
          creditor's claim shall be treated under the provisions of pt. 2(e) and (f) if the claim identifies the
          priority portion of the claim, and, if not, under the provisions of pt. 2(f) only. The following also
          apply:
         (1) To creditors whose claims have been timely filed and allowed as secured, make payments
               as follows: Estimated prepetition arrearages on property must be shown below,
               separately, and identified as such if debtor is curing defaults under
               11 U.S.C. § 1222(b)(5)). The arrearages and total amount of debt shown in a timely
               filed and allowed secured claim shall control.

                                       Estimated      Collateral      Estimated                      Post-
                                       Arrearage,    Value if Not    Total Debt if    Terms of   confirmation    Periodic
     Creditor          Collateral       if Curing   Paying in Full   Paying in Full   Payments   Interest Rate   Payment
Í»» ¿¬¬¿½¸»¼
Ý±²¬·²«¿¬·±²
Í¬¿¬»³»²¬ îø¾÷øï÷




   1200.05 (7/6/2020)                                  Page 1 of 4

                                    Case 22-31304-pcm12        Doc 17      Filed 11/07/22
                                                    Chapter 12 Plan Continuation Statement for Paragraph 2(b)(1)
                                                                    Plan Dated November 7, 2022

                         Creditor / Class      Collateral        Estimated   Collateral    Estimated       Term of        Post-         Periodic
                                                                 Arrearage, Value, if Not Total Debt if   Payments    Confirmation      Payment
                                                                  if Curing  Paying in      Paying in      (Up to)    Interest Rate
                                                                                Full           Full
                      Farmer s Irrigation   Real Property        N/A        N/A           $2,801.24       24 months 16.00%            $138.00 per
                      District                                                                                      per annum         month, plus
                      CLASS 1                                                                                                         all available
                                                                                                                                      funds after
                                                                                                                                      attorney fees.
                      Hood River County     Real Property        N/A         N/A          $7,154.87       24 months 16.00%            $351.00 per
                      Tax Office                                                                                    per annum         month, plus
                      CLASS 2                                                                                                         all available
                                                                                                                                      funds after




Case 22-31304-pcm12
                                                                                                                                      attorney fees
                                                                                                                                      and the
                                                                                                                                      CLASS 1




Doc 17
                                                                                                                                      claim is paid
                                                                                                                                      in full.
                      Veristone Mortgage    Real Property        N/A         N/A          $398,000        120        7.25%            $2,900 per
                      CLASS 3                                                                             months     per annum        month




Filed 11/07/22
                      Page 1 of 2 Plan Continuation Statements                                                         In re: Hoodstock Enterprises,
                      Plan Dated November 7, 2022                                                                    LLC Case No. 22-3      -pcm12
                      {00560131:1}
                 If payments to a creditor are to begin after debtor’s attorney has been paid, the payments
                 to said attorney shall not exceed $ ïëôððð         before the creditor is paid. If the debtor
                 is not paying the debt in full, the debtor MOVES the court for an order fixing the value of
                 the collateral as set forth above.

                 If the collateral is not to be sold, the value of the collateral shall be fixed in the amount
                 stated above for purposes of administration of this plan as well as for purposes of the
                 amount of any secured claim, if under secured, unless objected to at or before the first date
                 set for the confirmation hearing on this plan or, if applicable, prior to expiration of time to
                 object to this proposed modified plan, in which case the value will be determined by the
                 court. If the collateral is to be sold the value shall be the sales price. The debtor MOVES the
                 court for an order so fixing the value of the collateral. Otherwise, the creditor’s proof of
                 claim shall control.

           (2) Debtor proposes that the creditor(s) specifically identified below agree to the following
               treatment which the court might not be able to approve absent consent of creditor(s). Failure
               of creditor(s) to file a written objection to this plan prior to confirmation shall
               constitute acceptance of the plan. From the payments received pursuant to pt. 1, if a claim
               has been timely filed and allowed as secured, make payments to the following holders of
               such claims as detailed below. Estimated prepetition arrearages, if curing and reinstating,
               must be shown below. The arrearages shown in a timely filed and allowed secured
               claim shall control.

                                       Estimated      Collateral      Estimated                      Post-
                                       Arrearage,    Value if Not    Total Debt if    Terms of   confirmation    Periodic
      Creditor         Collateral       if Curing   Paying in Full   Paying in Full   Payments   Interest Rate   Payment
Òñß




                 If the collateral is not to be sold, for purposes of administration of this plan and case, the
                 secured claim shall be limited to the value of the collateral stated above, unless creditor(s)
                 objects at or before the first date set for the confirmation hearing on this plan or, if
                 applicable, prior to expiration of time to object to any proposed modified plan, in which
                 case, the values will be determined by the court. If the collateral is to be sold, the value
                 shall be the sales price. The debtor MOVES the court for an order so fixing the value of
                 the collateral.

           (3) Adequate protection payments shall be disbursed by the trustee pre-confirmation from
               funds on hand with the trustee in the payment amounts specified in the plan for the subject
               secured creditors, absent a provision in this plan or a court order providing for a different
               amount to be paid preconfirmation. If the debtor fails to make monthly payments sufficient
               to pay the adequate protection payments in full, the trustee will disburse available funds pro
               rata according to the payments proposed for subject secured creditors. Adequate
               protection payments paid through the trustee preconfirmation will be deducted from the
               amount of the allowed claim. Unless the concerned secured creditor is fully secured or
               oversecured, no interest shall be paid from the date of the filing of the petition to the date of

 1200.05 (7/6/2020)                                    Page 2 of 4

                                    Case 22-31304-pcm12        Doc 17      Filed 11/07/22
           confirmation unless otherwise specifically provided for in the payment provisions set forth
           above.

      (4) The debtor shall surrender any collateral which is not otherwise addressed by the terms of
          this plan no later than upon confirmation of this plan to the following creditors (state
          creditor NAME and DESCRIBE collateral to be surrendered):
         Òñß




   (c) Third, pro rata, until fully paid, allowed unsecured domestic support obligations.
   (d) Fourth, allowed administrative expenses under § 507(a)(2).
   (e) Fifth, pro rata, until fully paid, to allowed priority claims in the order stated in § 507(a)(3)-(10),
       unless otherwise ordered.
   (f) Sixth, pro rata, to timely filed and allowed nonpriority unsecured claims, the amounts required
       by § 1225(b)(1). These monies will be distributed in the method indicated in the applicable
       section marked below. The terms of pt. 8 shall also apply.
           (1) The creditors will receive approximately ïðð % of their claims. This percentage will
                 vary depending on the amount of total creditors' claims filed.
           (2) The creditors will receive a minimum            % of their claims. This percentage will not be
                 reduced despite the amount of total creditors' claims filed.
   (g) Pursuant to § 1225(a)(4), the unsecured creditors as a group will receive                 100%       a
       minimum of $                                       (check applicable provision; if neither is checked,
       "100%" controls) plus                    % shall be paid on all timely filed and allowed priority and
       nonpriority unsecured claims from the date of plan confirmation to compensate for deferred
       payment.

3. The debtor moves for assumption of the following executory contracts and leases:
        Creditor             Amount of Default [State if None]              Cure Provisions




   Those executory contracts or leases not specifically mentioned above are treated as rejected. Any
   timely filed and allowed claim arising from rejection shall be treated under pt. 2(f). The debtor will
   pay all assumed executory contracts and leases directly, including amounts required to cure. The
   debtor shall surrender any property covered by rejected executory contracts or leases to the
   affected creditor no later than upon confirmation of this plan.

4. The debtor shall pay directly to each of the following creditors, whose debts are fully secured, the
   regular payment due postpetition on these claims in accordance with the terms of their respective
   contracts, list any prepetition arrearages in pt. 2(b), and/or specify any other treatment of such

1200.05 (7/6/2020)                              Page 3 of 4

                           Case 22-31304-pcm12        Doc 17     Filed 11/07/22
   secured creditor(s) in pt. 2(b):
     Òñß




5. The property described below is to be sold [also state offering price and whether it will be offered
   through a broker (and if so, who), and state date by which it will be sold and what will occur if it is
   not timely sold], all offers received by the debtor shall be promptly communicated to the trustee
   and lienholders, and no sale of such property shall be completed without notice to lienholders and
   the trustee and an opportunity for a hearing:




6. Subject to the provisions of § 502, untimely claims are disallowed, without the need for formal
   objection, unless allowed by court order.

7. Except as provided in this plan or in the order confirming the plan, upon confirmation of this plan all
   of the property of the estate shall vest in the debtor(s) free and clear of any claim or interest of any
   creditor provided for by this plan pursuant to 11 U.S.C. § 1227.

8. [To be completed if plan will not be completed until more than 36 months after the first plan payment
   due under the originally filed plan.] The scheduled month and year the plan will be completed is
                                                    and the cause for a plan longer than 36 months is:
                                                                                                              .
   Except as otherwise explicitly provided by pt.           , the debtor shall make plan payments for the
   longer of either: (a) 36 months from the date the first payment is due under the original plan, unless
   the debtor pays 100% of all claims with interest if required, or (b) the time necessary to complete
   required payments to creditors.

9. This plan may be altered postconfirmation in a non-material manner by court order after notice to
   the debtor, the trustee, any creditor whose claim is the subject of the modification, and any
   interested party who has requested special notice.

10. Except as otherwise provided herein, (a) postpetition interest on all unsecured claims is disallowed,
    and (b) unsecured claims allowed in the amount of $25 or less, to the extent claims of that class
    are entitled to a distribution under this plan, shall be paid in the full amount allowed prior to any
    payments to other unsecured claims of the same class.



         ñ-ñ Ó¿®µ Ø»®±²ô Ó»³¾»®         ïïñðéñîî
Debtor                                Date                Debtor                           Date




1200.05 (7/6/2020)                                 Page 4 of 4

                              Case 22-31304-pcm12        Doc 17    Filed 11/07/22
                                Additional Paragraphs for
                          Chapter 12 Plan Dated November 7, 2022

The following Paragraphs are added to the end of the Chapter 12 Plan dated November 7, 2022:

  11.     Detailed treatment of Veristone Mortgage, LLC s claim. The claim of Veristone
Mortgage, LLC Veristone

            A. Loan Terms Related to Payment Terms. The monetary loan terms set forth in the
loan documents referenced in Veristone s proof of claim (maturity date, payment amount,
interest rate, etc.) are modified to be consistent with the terms of Section 2(b)(1) of the
confirmed Chapter 12 plan, and (i) the claim is to be amortized over 25 years, and (ii) the
maturity date is modified to be the 10-year anniversary of the Effective Date of the Plan.

            B. Loan Terms Not Related to Payment Terms. The non-monetary loan terms set
forth in the loan documents referenced in Veristone s proof of claim (maintain insurance, pay
post-petition property taxes when due, etc.) are incorporated into the confirmed Chapter 12 plan
as though set forth in the plan in their entirety.

    12.   Effective Date of Plan. The Effective Date of the Plan shall be the first day of the
calendar month following the date on which the confirmation order is entered.

    13.    Reservation of Rights. The effectiveness of this Chapter 12 Plan dated November 7,
2022 shall not preclude the assertion by Debtor against any creditor of any and all objections to
claims, nor the raising by Debtor of offsets, counterclaims or recoupment against any creditor.

    14.     Retention of Certain Income. Notwithstanding any provision in this Plan to the
contrary, Debtor shall be entitled to retain any government assistance payments received from
any government agency related to or designed to alleviate the effects of COVID-19. Debtor shall
be entitled to use any funds received for business operations.

    15.     Case Closure After Three Years. Once Plan payments have been made by the Debtor
for three years, Debtor shall receive a discharge pursuant to 11 U.S.C. § 1228(a), and the case
shall be closed. The claim of Veristone Mortgage, LLC shall not be discharged until such time
as the Veristone debt is paid in full under this Plan. For the avoidance of doubt, the claim held
by Veristone is an allowed claim provided for under 11 U.S.C. §§ 1222(b)(5) and/or 1222(b)(9).
The Veristone Claim shall remain modified as set forth in this Plan after the closure of the case
and Debtor s receipt of a discharge.

    16.    Estimated Payment Schedule. The attached payment schedule illustrates the payment
waterfall described in this Plan. The following schedule does not take into account changes to
payments resulting from amended claims, or from post-petition tax claims filed in accordance
with § 1232. To the extent there is any conflict between the preceding language of the Plan and
the following payment schedule, the Plan language shall control.


Page 2 of 2 Plan Continuation Statements                          In re: Hoodstock Enterprises,
Plan Dated November 7, 2022                                     LLC Case No. 22-3      -pcm12
{00560131:1}



                     Case 22-31304-pcm12          Doc 17    Filed 11/07/22
